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10
                              IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14

15   MICHAEL ANGELO MORALES, et al.,                        C 06-0219 RS

16                                     Plaintiffs, DEFENDANTS’ PRELIMINARY
                                                   NOTICE OF REGULATIONS
17                 v.                              CONCERNING THE
                                                   ADMINISTRATION OF THE DEATH
18                                                 PENALTY BY LETHAL INJECTION
     SCOTT KERNAN, Secretary of the
19   California Department of Corrections and
     Rehabilitation, et al.,
20
                                          Defendants.
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22

23         Defendants Brown, Kernan, and Davis provide preliminary notice that the California

24   Department of Corrections and Rehabilitation has submitted File and Print regulations concerning

25   the administration of the death penalty by lethal injection to the California Office of

26   Administrative Law. The Office of Administrative Law will review the regulations for

27   compliance with the exemption to the Administrative Procedure Act provided in Penal Code

28   section 3604.1. The regulations will become effective upon approval by the Office of
                                                        1
                                Defendants’ Preliminary Notice of Regulations Concerning the Administration of the
                                                                  Death Penalty by Lethal Injection (C 06-0219 RS)
        Case 3:06-cv-00219-RS Document 634 Filed 01/29/18 Page 2 of 3



 1   Administrative Law and filing with the Secretary of State. At that time, Defendants will provide

 2   this Court with notice of the finalization of the regulations, as required by this Court’s November

 3   22, 2016 order. (ECF No. 593.)

 4   Dated: January 29, 2018                                 Respectfully submitted,
 5                                                           XAVIER BECERRA
                                                             Attorney General of California
 6                                                           JAY M. GOLDMAN
                                                             Supervising Deputy Attorney General
 7                                                           R. LAWRENCE BRAGG
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 8                                                           General
 9
                                                             s/ Joanna B. Hood
10
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                                Defendants’ Preliminary Notice of Regulations Concerning the Administration of the
                                                                  Death Penalty by Lethal Injection (C 06-0219 RS)
            Case 3:06-cv-00219-RS Document 634 Filed 01/29/18 Page 3 of 3




                              CERTIFICATE OF SERVICE
Case Name:       Michael Angelo Morales v. M.             No.    C 06-0219 RS
                 Cate, et al.

I hereby certify that on January 29, 2018, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
DEFENDANTS’ PRELIMINARY NOTICE OF REGULATIONS CONCERNING THE
ADMINISTRATION OF THE DEATH PENALTY BY LETHAL INJECTION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on January 29, 2018, at Sacramento,
California.


                M. Micciche                                      /S/ M. Micciche
                 Declarant                                           Signature

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